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                   EXHIBIT A
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                    HEARING BEFORE THE UNITED STATES SENATE
                         COMMITTEE ON THE J UDICIARY

                                  November 17, 2020

                             Testimony of Mark Zuckerberg
                                    Facebook, Inc.

I. Introduction

Chairman Graham, Ranking Member Feinstein, and members of the Committee, thank
you for the opportunity to be here today.

Facebook’s mission is to give people the power to build community and bring the world
closer together. Our products enable more than 3 billion people around the world to share
ideas, offer support, and discuss important issues, including politics, public health, and
social issues. We think that community is particularly important now when the COVID-
19 pandemic has disrupted so many aspects of our daily lives. We believe we have a
responsibility to keep people safe on our service and to protect free expression, and we
work hard to set and enforce policies that meet this goal.

II. Our Efforts to Support the 2020 Election

Facebook stands for giving people a voice, and it was important to us that everyone could
make their voice heard during the election. While we were only a small piece of the
broader election ecosystem, we announced a series of policies in advance to help protect
the integrity of the election and support our democratic process.

First, we proactively supported civic engagement on our platform. We ran the largest
voting information campaign in American history. Based on conversion rates we
calculated from a few states we partnered with, we estimate that we helped 4.5 million
people register to vote across Facebook, Instagram, and Messenger—and helped about
100,000 people sign up to be poll workers. We launched a Voting Information Center to
connect people with reliable information on deadlines for registering and voting and
details about how to vote by mail or vote early in person, and we displayed links to the
Voting Information Center when people posted about voting on Facebook. 140 million
people visited the Voting Information Center on Facebook and Instagram since it
launched. We are encouraged that more Americans voted in 2020 than ever before, and
that our platform helped people take part in the democratic process.

Second, we worked hard to tackle misinformation and voter suppression. People tell us
they don’t want to see misinformation on Facebook, and neither do we. We partnered
with election officials to remove false claims about polling conditions and displayed
warnings on more than 150 million pieces of content after review by our independent
third-party fact-checkers. We put in place strong voter suppression policies prohibiting
explicit or implicit misrepresentations about how or when to vote as well as attempts to

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use threats related to COVID-19 to scare people into not voting. We also removed calls
for people to engage in poll watching that used militarized language or suggested that the
goal was to intimidate, exert control, or display power over election officials or voters,
and we filtered civic groups out of recommendations.

As the ballots were counted, we deployed additional measures that we announced in
advance of the election to help people stay informed:

   •   We partnered with Reuters and the National Election Pool to provide reliable
       information about election results in the Voting Information Center and notified
       people proactively as results became available. We added labels to posts about
       voting by candidates from both parties to direct people to reliable information.

   •   We attached an informational label to content that sought to delegitimize the
       outcome of the election or discuss the legitimacy of voting methods.

   •   We strengthened our enforcement against militias, conspiracy networks, and other
       groups to help prevent them from using our platform to organize violence or civil
       unrest in the period after the election. We have already removed thousands of
       these groups from our platform, and we will continue our enforcement during this
       transitional period.

Based on what we learned in 2016 about the risk of coordinated online efforts by foreign
governments and individuals to interfere in our elections, we invested heavily in our
security systems and monitored closely for any threats to the integrity of the election
from abroad. We also blocked ads from state-controlled media outlets in the US to
provide an extra layer of protection against various types of foreign influence in the
public debate ahead of the election.

We’re pleased that, thanks to the hard work of election administrators across the country,
the voting process went relatively smoothly. We expect there is still a lot to learn from
this election, and we’re committed to making sure that we do. Earlier this year, we
announced a partnership with a team of independent external academics to conduct
objective and empirically grounded research on social media’s impact on democracy. We
want to better understand whether social media makes us more polarized as a society, or
if it largely reflects the divisions that already exist; if it helps people become more
informed about politics, or less; or if it affects people’s attitudes towards government and
democracy, including whether and how they vote. We hope that the insights these
researchers develop will help advance society’s understanding of the intersection of
technology and democracy and help Facebook learn how we can better play our part.

III. Updating the Rules of the Internet

We’re committed to doing everything we can to protect our community while supporting
free expression and democracy, but as I’ve said before, we don’t think that tech
companies should be making so many decisions about these important issues alone. I

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believe we need a more active role for governments and regulators, which is why, in
March last year, I called for regulation on privacy, elections, and data portability.

I’ve also called for Congress to update Section 230 of the Communications Decency Act
to make sure it’s working as intended. Section 230 allows us to provide our products and
services to users by doing two things:

   •   First, it encourages free expression. Without Section 230, platforms could
       potentially be held liable for everything people say. Platforms would likely censor
       more content to avoid legal risk and would be less likely to invest in technologies
       that enable people to express themselves in new ways.

   •   Second, it allows platforms to moderate content. Without Section 230, platforms
       could face liability for doing even basic moderation, such as removing hate
       speech and harassment that impacts the safety and security of their communities.

Thanks to Section 230, people have the freedom to use the internet to express themselves,
and platforms are able to more effectively address risks. Updating Section 230 is a
significant decision, but we support the ideas around transparency and industry
collaboration that are being discussed in some of the current bipartisan proposals, and I
look forward to a meaningful dialogue about how we might update the law to deal with
the problems we face today.

It’s important that any changes to the law don’t prevent new companies or businesses
from being built, because innovation in the internet sector brings real benefits to billions
of people around the world. We stand ready to work with Congress on what regulation
could look like, whether that means Section 230 reform or providing guidance to
platforms on other issues such as harmful content, privacy, elections, and data portability.
By updating the rules for the internet, we can preserve what’s best about it—the freedom
for people to express themselves and for entrepreneurs to build new things—while also
protecting society from broader harms.

IV. Conclusion

We took our responsibility for protecting the integrity of this election seriously. We
followed the policies and processes that we laid out in advance to protect the democratic
process in both the pre- and post-election period, and we worked hard to apply those
policies fairly and consistently.

Securing the integrity of elections is an ongoing challenge for platforms, and we are
committed to continuing to improve our systems, but I am proud of the work we have
done over the past four years to prevent election interference and support our democracy.
Millions of Americans used our service to talk about the campaigns, access credible
information about voting, and register to vote.




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At Facebook, we often have to balance competing equities. Sometimes the right thing to
do from a safety or security perspective isn’t the best for privacy or free expression, so
we have to choose what we believe is best for our community and for the world. Making
these tradeoffs is not straightforward, and whatever path we choose, inevitably some
people are disappointed.

In addition, people have very different ideas about how the internet should be governed.
This is something many platforms struggle with, and it’s why I believe we should resolve
some of these tensions together as a society and in a way that people feel is legitimate.
We hope to work with both parties on regulation in the next Congress, and I look forward
to discussing this at the hearing.




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